8:05-cr-00294-BCB-SMB   Doc # 226   Filed: 01/23/15   Page 1 of 1 - Page ID # 1302



            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:05CR294
                              )
          v.                  )
                              )
FRANCISCO ROBLES,             )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s pro se

motion for reduction of sentence pursuant to Guideline Amendment

782 (Filing No. 225).

           IT IS ORDERED:

           1) Defendant’s pro se motion is held in abeyance

pursuant to General Order No. 2014-09.

           2) The clerk shall provide the defendant with a copy of

this order and General Order No. 2014-09 and shall also give

notice to the United States Attorney, the Federal Public

Defender, and to the Supervisory United States Probation Officer

who handles presentence reports.

           DATED this 23rd day of January, 2015.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
